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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-00570(APM)

v.
: VIOLATIONS:
LANDON KENNETH COPELAND, : 18U.8.C. § 231(a)(3)
: (Civil Disorder)
Defendant. : 180U.S8.C. §§ 1512(c)(2), 2

: (Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)(1)
(Assaulting, Resisting, or Impeding
Certain Officers)
18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)
18 U.S.C. §§ 111(a)(1) and (b)
(Inflicting Bodily Injury on Certain
Officers)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a

: Restricted Building or Grounds)

: 18 U.S.C. § 1752(a)(4)

: (Engaging in Physical Violence in a

: Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in

: a Capitol Building or Grounds)

: 400U.S.C. § 5104(e)(2)(F)

: (Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, within the District of Columbia, LANDON KENNETH
COPELAND committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer lawfully engaged in the lawful performance of his official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article or commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, LANDON
KENNETH COPELAND attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title

18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, LANDON KENNETH
COPELAND did forcibly assault, resist, oppose, impede, intimidate, interfere and inflict bodily
injury on, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), that is, Officer T.R., an officer
from the United States Capitol Police, while such officer or employee was engaged in or on

account of the performance of official duties, and where the acts in violation of this section involve
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physical contact with the victim and the intent to commit another felony.

(Inflicting Bodily Injury on Certain Officers, in violation of Title 18, United States
Code, Sections | 1 1(a)(1) and (b))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, LANDON KENNETH
COPELAND did forcibly assault, resist, oppose, impede, intimidate, and interfere with officers
and employees of the United States, and of any branch of the United States Government (including
any member of the uniformed services), that is, officers from the United States Capitol Police who
came to Officer T.R.’s defense after the defendant assaulted Officer T.R., while such persons were
engaged in and on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, LANDON KENNETH
COPELAND did forcibly assault, resist, oppose, impede, intimidate, and interfere with officers
and employees of the United States, and of any branch of the United States Government (including
any member of the uniformed services), that is, officers from the United States Capitol Police and
Metropolitan Police Department, while such persons were engaged in and on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SIX

On or about January 6, 2021, within the District of Columbia, LANDON KENNETH
COPELAND, using a deadly or dangerous weapon, that is, a metal fence, did forcibly assault,
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), that is, officers from the United States Capitol Police and Metropolitan Police
Department, while such officers or employees were engaged in or on account of the performance
of official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, LANDON KENNETH
COPELAND did unlawfully and knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President and Vice President-elect were temporarily visiting,
without lawful authority to do so.
(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, LANDON KENNETH
COPELAND did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and
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within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, LANDON KENNETH
COPELAND did knowingly engage in any act of physical violence against any person and
property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT TEN
On or about January 6, 2021, in the District of Columbia, LANDON KENNETH
COPELAND willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds with the intent to impede, disrupt, and disturb the orderly conduct
of a session of Congress and either House of Congress, and the orderly conduct in that building of
a hearing before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United
States Code, Section 5104(e)(2)(D))
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COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, LANDON KENNETH
COPELAND willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Cheamiig D Pitta |

Attorney of the United States in
and for the District of Columbia.
